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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW HAMPSHIRE


NEW HAMPSHIRE INDONESIAN
COMMUNITY SUPPORT, et al.,

Plaintiffs,

v.                                        Case No. 1:25-cv-38-JL-TSM

DONALD J. TRUMP, et al.,

Defendants.



                    DEFENDANTS’ MEMORANDUM OF LAW
                   IN OBJECTION TO PLAINTIFFS’ MOTION
                       FOR PRELIMINARY INJUNCTION
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                                          INTRODUCTION

        The Citizenship Clause of the Fourteenth Amendment provides that “[a]ll persons born or

naturalized in the United States, and subject to the jurisdiction thereof, are citizens of the United States

and of the State wherein they reside.” U.S. Const. amend. XIV, § 1. On January 20, 2025, President

Donald J. Trump issued an Executive Order addressing what it means to be “subject to the jurisdic-

tion” of the United States. Exec. Order No. 14160, Protecting the Meaning and Value of American

Citizenship (Citizenship EO or EO). That Executive Order recognizes that the Constitution does not

grant birthright citizenship to the children of aliens who are unlawfully present in the United States as

well as children of aliens whose presence is lawful but temporary. Prior misimpressions of the Citi-

zenship Clause have created a perverse incentive for illegal immigration that has negatively impacted

this country’s sovereignty, national security, and economic stability. But the Framers of the Fourteenth

Amendment did not fate the United States to that reality. Instead, text, history, and precedent support

what common sense compels: the Constitution does not harbor a windfall clause granting American

citizenship to, inter alia, the children of those who have circumvented (or defied) immigration laws.

        Plaintiffs—three organizations—filed suit within hours of the EO’s issuance. But assertions

about the supposed illegality of the EO cannot substitute for a showing that they are entitled to ex-

traordinary relief. And as to each factor of that analysis, Plaintiffs fail to carry their burden. To start,

Plaintiffs lack a cause of action—neither the Citizenship Clause nor any statute allows them to bring

their asserted claims. They are also unlikely to succeed on the merits. As was apparent since its enact-

ment, the Clause’s use of the phrase “subject to the jurisdiction” of the United States means more

than being subject to this country’s regulatory power. It conveys that persons must be “completely

subject to [the] political jurisdiction” of the United States, i.e., that they have a “direct and immediate

allegiance” to this country, unqualified by an allegiance to any foreign power. Elk v. Wilkins, 112 U.S.

94, 102 (1884). Just as that does not hold for diplomats or occupying enemies, it also does not hold


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for foreigners admitted temporarily or individuals here illegally. “[N]o one can become a citizen of a

nation without its consent.” Id. at 103. And if the United States has not consented to someone’s

enduring presence, it likewise has not consented to making citizens of that person’s children.

        Although Plaintiffs contend that the Citizenship EO upends well-settled law, it is their maxi-

malist reading which runs headlong into existing law. Not only is it inconsistent with the Supreme

Court’s holding in Elk that the children of Tribal Indians did not fall within the Clause, even though

they were subject to the regulatory power of the United States, id. at 101-02, but it would render the

Civil Rights Act of 1866 (which defined citizenship to cover those born in the United States, not

“subject to any foreign power”) unconstitutional just two years after it was passed. But the Citizenship

Clause was an effort to constitutionalize the Civil Rights Act. Plaintiffs also rely heavily on the Supreme

Court’s decision in Wong Kim Ark, 169 U.S. 649 (1898). The Court, however, was careful to cabin its

actual holding to the children of those with a “permanent domicile and residence in the United States,”

id. at 652-53, and “[b]reath spent repeating dicta does not infuse it with life.” Metro. Stevedore Co. v.

Rambo, 515 U.S. 291, 300 (1995). The Court in Wong Kim Ark did not suggest that it was overturning

Elk or jeopardizing the 1866 Civil Rights Act, and reading that decision to leave open the question

presented here is consistent with contemporary accounts, prior practices of the political branches, and

Supreme Court decisions in the years following Wong Kim Ark. Finally, the balance of the equities does

not favor injunctive relief. The Court should deny the pending preliminary injunction motion.

                                           BACKGROUND

I.      The Executive Order

        The Citizenship EO is an integral part of President Trump’s broader effort to repair the United

States’ immigration system and to address the ongoing crisis at the southern border. See, e.g., Exec.

Order No. 14165, Securing Our Borders (Jan. 20, 2025); Proclamation No. 10886, Declaring a Na-

tional Emergency at the Southern Border of the United States (Jan. 20, 2025); Exec. Order No. 14159,


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Protecting the American People Against Invasion (Jan. 20, 2025) (Invasion EO). As the President has

recognized, individuals unlawfully in this country “present significant threats to national security and

public safety,” Invasion EO, § 1, and the severity of these problems warrants a panoply of immigration

measures. Some of these threats are related to the United States’ prior, erroneous policy of recognizing

near-universal birthright citizenship. For instance, “the nation’s current policy of universally granting

birthright citizenship to individuals who lack any meaningful ties to the United States provides sub-

stantial opportunities for abuse by motivated enemies.” Amy Swearer, Heritage Found., Legal Mem.

No. 250, The Political Case for Confining Birthright Citizenship to Its Original Meaning at 8-11 (2019).

        The EO seeks to correct the Executive Branch’s prior misreading of the Citizenship Clause.

It recognizes (in § 1) that the Constitution and the INA provide for citizenship for all persons who

are born in the United States and subject to the jurisdiction thereof, and identifies two circumstances

in which a person born in the United States is not automatically extended the privilege of citizenship:

        (1) when that person’s mother was unlawfully present in the United States and the
        father was not a United States citizen or lawful permanent resident at the time of said
        person’s birth, or (2) when that person’s mother’s presence in the United States at the
        time of said person’s birth was lawful but temporary (such as, but not limited to, vis-
        iting the United States under the auspices of the Visa Waiver Program or visiting on a
        student, work, or tourist visa) and the father was not a United States citizen or lawful
        permanent resident at the time of said person’s birth.

        Section 2(a) of the EO directs the Executive Branch (1) not to issue documents recognizing

U.S. citizenship to persons born in the United States under the conditions described in section 1, and

(2) not to accept documents issued by state, local, or other governments purporting to recognize the

U.S. citizenship of such persons. The EO specifies, however, that those directives “apply only to

persons who are born within the United States after 30 days from the date of this order,” or February

19. Citizenship EO § 2(b). The Citizenship EO makes clear that its provisions do not “affect the

entitlement of other individuals, including children of lawful permanent residents, to obtain documen-

tation of their United States citizenship.” Id. § 2(c).


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         The EO directs the Secretary of State, the Attorney General, the Secretary of Homeland Se-

curity, and the Commissioner of Social Security to take “all appropriate measures to ensure that the

regulations and policies of their respective departments and agencies are consistent with this order”

and not to “act, or forbear from acting, in any manner inconsistent with this order.” Citizenship EO

§ 3(a). It further directs the heads of agencies to issue public guidance within 30 days (by February 19)

“regarding this order’s implementation with respect to their operations and activities.” Id. § 3(b).

II.      This Litigation

         On January 20, 2025, the same day the EO issued, three membership organizations filed this

lawsuit: New Hampshire Indonesian Community Support, League of United Latin American Citizens,

and Make the Road New York. See Compl. ¶¶ 12-23. The organizations allegedly have members “who

are living in the United States and currently expecting children who, once they are born, will be denied

citizenship under the Executive Order.” Id. ¶ 50; see also id. ¶¶ 51-60 (discussing the organizations and

some of their members). The complaint asserts claims under the Citizenship Clause (Count I) and the

INA (Count II). It also asserts two Administrative Procedure Act (APA) claims against all Defendants

except President Trump, asserting that the actions “required or permitted by the Executive Order”

are “contrary to constitutional right, power, privilege, or immunity” (Count III) or are “in excess of

statutory jurisdiction, authority, or limitations, or short of statutory right” (Count IV).1 Plaintiffs

moved for a preliminary injunction. See Mem. in Supp. of Mot. for Prelim. Inj., ECF No. 24-1 (Mem.).

                                    STANDARD OF REVIEW

         A preliminary injunction is “an extraordinary and drastic remedy, one that should not be



1
 The Citizenship EO has been challenged in several lawsuits. On January 23, a judge issued a tempo-
rary restraining order “fully” enjoining the Defendants in that case “and all their respective officers,
agents, servants, employees, and attorneys,” from enforcing or implementing Section 2(a), Section
3(a), or Section 3(b) of the Citizenship EO. TRO, Washington v. Trump, No. 2:25-cv-00127-JCC (W.D.
Wash. Jan. 23, 2025), ECF No. 43. That TRO remains in effect “pending further orders from th[e]
Court,” id., and a preliminary injunction hearing is scheduled for February 6. Washington, ECF No. 44.

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granted unless the movant, by a clear showing, carries the burden of persuasion.” Mazurek v. Armstrong,

520 U.S. 968, 972 (1997) (citation omitted). “A plaintiff seeking a preliminary injunction must establish

that he is likely to succeed on the merits, that he is likely to suffer irreparable harm in the absence of

preliminary relief, that the balance of equities tips in his favor, and that the injunction is in the public

interest.” Winter v. NRDC, 555 U.S. 7, 20 (2008).

                                              ARGUMENT

I.      Plaintiffs Lack a Valid Cause of Action

        The Court should deny Plaintiffs’ motion at the threshold because they are unlikely to succeed

on the merits for a simple reason: there is no cause of action allowing them to bring this case. Neither

the Constitution, nor the APA, nor the INA provide Plaintiffs with a private right of action in these

circumstances. Accordingly, they cannot succeed on the merits.

        To begin, Plaintiffs’ first count alleges a violation of the Citizenship Clause of the Fourteenth

Amendment. Compl. ¶¶ 87-89. But it is well established that the Constitution does not generally pro-

vide a cause of action to pursue affirmative relief. See, e.g., DeVillier v. Texas, 601 U.S. 285, 291 (2024).

Rather, “constitutional rights are generally invoked defensively in cases arising under other sources of

law, or asserted offensively pursuant to an independent cause of action designed for that purpose.”

Id. But Plaintiffs do not identify any “independent cause of action” that enables them to enforce the

Citizenship Clause or to pursue any of their other claims.

        For instance, the APA does not provide a cause of action in these circumstances. The APA

only authorizes judicial review over “final agency action for which there is no other adequate remedy

in a court.” 5 U.S.C. § 704. Neither requirement is met here.

        First, Plaintiffs do not attempt to “identify the final agency action being challenged.” Elk Run

Coal Co. v. U.S. Dep’t of Labor, 804 F. Supp. 2d 8, 30 (D.D.C. 2011). The EO does not qualify as an

agency action because the President is not an “agency.” See Franklin v. Massachusetts, 505 U.S. 788, 800-


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01 (1992). Indeed, Plaintiffs’ descriptions of their two APA claims make plain that there has been no

final agency action: both of those claims are limited to “actions of Defendants that are required or

permitted by the Executive Order,” Compl., ¶¶ 95, 97, that is, those claims by their terms encompass

only hypothetical, future actions. Until such time as an agency named in the complaint takes action by

determining rights or obligations, or otherwise causes legal consequences, see, e.g., U.S. Army Corps of

Eng’rs v. Hawkes Co., 578 U.S. 590, 597 (2016), the APA does not provide a cause of action.

        Second, the INA provides an adequate alternate remedy for review of citizenship determina-

tions. See Garcia v. Vilsack, 563 F.3d 519, 522 (D.C. Cir. 2009) (“[T]he Supreme Court interpreted [5

U.S.C.] § 704 as precluding APA review where Congress has otherwise provided a ‘special and ade-

quate review procedure.’”). Pursuant to the INA’s comprehensive statutory framework for judicial

review, disputes regarding the citizenship of an individual within the United States are resolved by the

individual filing an action for declaratory relief once he is denied a right or privilege as a U.S. national.

8 U.S.C. § 1503(a). Thus, “[i]f any person who is within the United States claims a right or privilege as

a national of the United States and is denied such right or privilege by any department or independent

agency, or official thereof, upon the ground that he is not a national of the United States,” then that

person may institute an action under 8 U.S.C. § 1503(a), in conjunction with 28 U.S.C. § 2201, for a

declaratory judgment that he is a U.S. national. See id. § 1503(a).2 Under section 1503, district courts

conduct de novo proceedings as to the person’s nationality status. See Vance v. Terrazas, 444 U.S. 252,

256 (1980); Richards v. Sec'y of State, 752 F.2d 1413, 1417 (9th Cir. 1985).

        Because “Congress intended § 1503(a) to be the exclusive remedy for a person within the

United States to seek a declaration of U.S. nationality following an agency or department’s denial of a



2
  If an individual is placed in removal proceedings, Section 1503 is unavailable and the individual can
raise the issue of citizenship in those proceedings. 8 U.S.C. § 1252(b)(5) (if an alien appeals a removal
order to a circuit court, that court, upon finding a genuine issue of material fact as to U.S. citizenship,
transfers the proceeding to the district court for an evidentiary hearing).

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privilege or right of citizenship upon the ground that the person is not a U.S. national,” Cambranis v.

Blinken, 994 F.3d 457, 466 (5th Cir. 2021), courts have consistently concluded that section offers an

adequate alternative remedy to—and thus precludes—APA review. See, e.g., Alsaidi v. U.S. Dep’t of State,

292 F. Supp. 3d 320, 326-27 (D.D.C. 2018); Abuhajeb v. Pompeo, 531 F. Supp. 3d 447, 455 (D. Mass.

2021); Ortega-Morales v. Lynch, 168 F. Supp. 3d 1228, 1233-34 (D. Ariz. 2016).

         While the INA thus provides an adequate alternative remedy for individuals to seek judicial

resolution of disputes concerning their citizenship, the INA does not provide a cause of action that

Plaintiffs may rely on to bring the present case. The exclusive remedy for an individual in the U.S.

who claims to be a U.S. citizen denied a right or privilege of citizenship is to institute an action for

declaratory relief under section 1503(a). The INA does not permit organizations to sue under section

1503(a), either on their own account or on behalf of members. Instead, the statute requires any dispute

over a citizenship determination to be resolved in individual declaratory judgment proceedings once

a right or privilege is actually denied. Nor does the statute allow anyone to file a facial challenge seeking

to permanently enjoin enforcement of an executive order nationwide before any right has been denied

to any individual. See, e.g., Alexander v. Sandoval, 532 U.S. 275, 287 (2001) (“Raising up causes of action

where a statute has not created them may be a proper function for common-law courts, but not for

federal tribunals.” (citation omitted)).

II.      Plaintiffs Are Not Likely To Succeed on the Merits

         The Citizenship Clause provides that “[a]ll persons born or naturalized in the United States,

and subject to the jurisdiction thereof, are citizens of the United States and of the State wherein they

reside.” U.S. Const. amend. XIV, § 1. And the INA grants U.S. citizenship to any “person born in the

United States, and subject to the jurisdiction thereof.” 8 U.S.C. § 1401(a). Plaintiffs contend that the

EO violates both the Citizenship Clause and the INA, but they are mistaken.




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        To obtain U.S. citizenship under the Citizenship Clause, a person must be: (1) “born or natu-

ralized in the United States” and (2) “subject to the jurisdiction thereof.” U.S. Const. amend XIV, § 1.

The Supreme Court has identified multiple categories of persons who, despite birth in the United

States, are not constitutionally entitled to citizenship because they are not subject to the jurisdiction

of the United States: children of foreign sovereigns or their diplomats, children of alien enemies in

hostile occupation, children born on foreign public ships, and certain children of members of Indian

tribes.3 United States v. Wong Kim Ark, 169 U.S. 649, 682, 693 (1898). The Citizenship EO recognizes

an additional category of persons not subject to the jurisdiction of the United States: children born in

the United States of illegal aliens or temporary visitors.

        A.      The Term “Jurisdiction” in the Citizenship Clause Does Not Refer to
                Regulatory Power.

        “Jurisdiction . . . is a word of many, too many, meanings.” Wilkins v. United States, 598 U.S.

152, 156 (2023) (citation omitted). Plaintiffs equate “jurisdiction” with something akin to regulatory

power, suggesting that Wong Kim Ark held that anyone who was “subject to the enforcement of United

States law” is subject to the jurisdiction of the United States. See Mem. at 5; see also id. 5-8. But that

interpretation is incorrect. It conflicts with both Supreme Court precedent and ample evidence as to

the provision’s original public meaning.

        1.      Most importantly, Plaintiffs’ understanding of the term “jurisdiction” conflicts with

Supreme Court precedents identifying the categories of persons who are not subject to the United

States’ jurisdiction within the meaning of the Citizenship Clause. For example, the Supreme Court has

held that children of members of Indian tribes, “owing immediate allegiance” to those tribes, do not

acquire citizenship by birth in the United States. Elk, 112 U.S. at 102; see Wong Kim Ark, 169 U.S. at


3
 Although the Citizenship Clause has always been understood to exclude certain children of members
of Indian tribes from a constitutional right to citizenship by birth, Congress has by statute extended
U.S. citizenship to any “person born in the United States to a member of an Indian, Eskimo, Aleutian,
or other aboriginal tribe.” 8 U.S.C. § 1401(b).

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680-82. Yet members of Indian tribes and their children are plainly subject to the United States’ reg-

ulatory power. “It is thoroughly established that Congress has plenary authority over the Indians and

all their tribal relations.” Winton v. Amos, 255 U.S. 373, 391 (1921); see Haaland v. Brackeen, 599 U.S.

255, 272-73 (2023). For example, Congress may regulate Indian commercial activities, see United States

v. Holliday, 70 U.S. (3 Wall.) 407, 416-18 (1866); Indian property, see Lone Wolf v. Hitchcock, 187 U.S.

553, 565 (1903); and Indian adoptions, see Brackeen, 599 U.S. at 276-280. And the United States may

punish Indians for crimes. See United States v. Kagama, 118 U.S. 375, 379-385 (1886). If “subject to the

jurisdiction thereof” means subject to U.S. law, this exception for Indians would be inexplicable.

        In fact, Plaintiffs’ reading cannot even explain the exception to birthright citizenship for “chil-

dren of foreign sovereigns or their ministers.” Wong Kim Ark, 169 U.S. at 693. Although foreign leaders

and diplomats have traditionally enjoyed immunity as a matter of common law, the Constitution allows

Congress to abrogate that immunity or to make exceptions to it. See Verlinden BV v. Central Bank of

Nigeria, 461 U.S. 480, 486 (1983). And to the extent Plaintiffs suggest that children of foreign leaders

or diplomats are not subject to the United States’ jurisdiction because the U.S. chooses to extend im-

munity to them, their theory would allow Congress to turn the Citizenship Clause on and off at will

by extending or retracting immunity.

        Against the surplusage canon, on Plaintiffs’ reading, the phrase “subject to the jurisdiction

thereof” adds nothing to the phrase “born . . . in the United States.” Because the United States is

sovereign over its territory, everyone who is born (and so present) in the United States would neces-

sarily be subject, at least to some extent, to the United States’ regulatory authority. See The Schooner

Exchange v. McFaddon, 11 U.S. (7 Cranch) 116, 136 (1812). But “[i]t cannot be presumed that any clause

in the [C]onstitution is intended to be without effect; and therefore such a construction is inadmissi-

ble.” Marbury v. Madison, 5 U.S. (1 Cranch) 137, 174 (1803).

        2.      Instead of equating “jurisdiction” with regulatory authority, the Supreme Court has


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held that a person is “subject to the jurisdiction” of the United States under the Citizenship Clause if

he is born “in the allegiance and under the protection of the country.” Wong Kim Ark, 169 U.S. at 693.

That allegiance to the United States, the Court has further held, must be “direct,” “immediate,” and

“complete,” unqualified by “allegiance to any alien power.” Elk, 112 U.S. at 101-02. In other words,

a person is subject to the jurisdiction of the United States within the meaning of the Clause only if he

is not subject to the jurisdiction of a foreign power, and the “nation” has “consent[ed]” to him becom-

ing part of its own “jurisdiction.” Elk, 112 U.S. at 102-03; see also The Schooner Exchange, 11 U.S. at 136

(explaining a nation’s “jurisdiction . . . must be traced up to the consent of the nation itself”).

        That reading of the Citizenship Clause reflects its statutory background. Months before Con-

gress proposed the Fourteenth Amendment, it enacted the Civil Rights Act of 1866. That Act served

as “the initial blueprint” for the Amendment, Gen. Bldg. Contractors Ass’n v. Pennsylvania, 458 U.S. 375,

389 (1982), and the Amendment in turn “provide[d] a constitutional basis for protecting the rights set

out” in the Act, McDonald v. City of Chicago, 561 U.S. 742, 775 (2010). The Act stated, as relevant here,

that “all persons born in the United States and not subject to any foreign power, excluding Indians not taxed,

are hereby declared to be citizens of the United States.” Civil Rights Act § 1, 14 Stat. 27 (emphasis

added). There is no reason to read the phrase “subject to the jurisdiction thereof” in the Amendment

as broader than the phrase “not subject to any foreign power” in the Act, in no small part because

doing so would render the Civil Rights Act unconstitutional. And as telling, the Act’s citizenship lan-

guage remained on the books until revised by the Nationality Act of 1940, ch. 876, § 201(a), 54 Stat.

1137, 1138—suggesting that Congress regarded the Act’s “not subject to any foreign power” require-

ment as consistent with the Amendment’s “subject to the jurisdiction” requirement. The Act thus

confirms that, to be subject to the jurisdiction of the United States under the Clause, a person must

owe “no allegiance to any alien power.” Elk, 112 U.S. at 101.




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        Debates on the Act and the Amendment show that members of Congress shared that under-

standing. During debates on the Act, Senator Lyman Trumbull explained that the purpose of the Act

was “to make citizens of everybody born in the United States who owe[d] allegiance to the United

States.” Cong. Globe, 39th Cong., 1st Sess. 572 (1866). And Representative John Broomall explained

that the freed slaves were properly regarded as U.S. citizens by birth because they owed no allegiance

to any foreign sovereign. See id. at 1262. Similarly, during debates on the Amendment, Senator Trum-

bull explained: “What do we mean by ‘subject to the jurisdiction of the United States?’ Not owing

allegiance to anybody else. That is what it means. . . . It cannot be said of any Indian who owes

allegiance, partial allegiance if you please, to some other Government that he is ‘subject to the juris-

diction of the United States.’” Id. at 2893. Trumbull went on to equate “being subject to our jurisdic-

tion” with “owing allegiance solely to the United States.” Id. at 2894. And Senator Reverdy Johnson

agreed that “all that this amendment provides is, that all persons born in the United States and not

subject to some foreign Power . . . shall be considered as citizens.” Id. at 2893.

        The full text of the Citizenship Clause reinforces that reading of the Clause’s jurisdictional

element. The Clause provides that persons born in the United States and subject to its jurisdiction

“are citizens of the United States and of the States wherein they reside.” U.S. Const. amend. XIV, § 1.

The Clause uses the term “reside[nce]” synonymously with “domicile.” See Robertson v. Cease, 97 U.S.

646, 650 (1878) (explaining that state citizenship requires “a fixed permanent domicile in that State”).

And then as now, domicile was understood to have two components—presence that is both perma-

nent and lawful. See Spragins v. Houghton, 3 Ill. (2 Scam.) 377, 396 (1840) (explaining the term “inhabitant

. . . applie[s], exclusively, to one who lives in a place, and has a fixed and legal settlement”) (emphasis

added)). The Clause thus confirms that citizenship flows from lawful domicile.

        Finally, as a decisive cross-check, the government’s reading, unlike Plaintiffs’ interpretation, is

the only one that fully explains the Supreme Court’s precedents on citizenship by birth in the United


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States. It was “never doubted” that “children born of citizen parents” owe allegiance to the United

States and are subject to its jurisdiction. Minor v. Happersett, 88 U.S. 162, 167 (1874). In Wong Kim Ark,

the Court held that a child born in the United States “of parents of Chinese descent, who at the time

of his birth [were] subjects of the emperor of China, but have a permanent domicile and residence”

in the United States, and are there carrying on business, and are not employed in any diplomatic or

official capacity” by China are likewise subject to the jurisdiction of the United States. 169 U.S. at 653.

The Court explained that “[e]very citizen or subject of another country, while domiciled here, is within

the allegiance . . . of the United States.” Id. at 693. By contrast, children of diplomats, children of

certain alien enemies, and children born on foreign public ships are not subject to the jurisdiction of

the United States because they all owe allegiance to foreign sovereigns under background principles

of common law. See id. at 655. And the Court has held that certain children of members of Indian

tribes are not subject to U.S. jurisdiction in the necessary sense because they “owe[] immediate alle-

giance to their several tribes.” Elk, 112 U.S. at 99.

        B.       Children Born of Unlawfully Present Aliens or Lawful But Temporary Visitors
                 Fall Outside the Citizenship Clause.

        1.       To determine which sovereign may properly claim a person’s allegiance, the Supreme

Court has looked to background principles of the common law and the law of nations, as understood

in the United States at the time the Fourteenth Amendment was ratified. See Wong Kim Ark, 169 U.S.

at 653-55. Under those principles, a child of foreign parents other than lawful permanent residents is

domiciled in, and owes a measure of allegiance to, his parents’ home country. As a result, that child is

not subject to the jurisdiction of the United States within the meaning of the Citizenship Clause.

        Under the common law, a person owes a form of “allegiance” to the country in which he is

“domiciled.” Carlisle v. United States, 83 U.S. (16 Wall.) 147, 155 (1872); see The Pizarro, 15 U.S. (2 Wheat.)

227, 246 (1817) (Story, J.) (“[A] person domiciled in a country . . . owes allegiance to the country.”). A

child’s domicile, and thus his allegiance, “follow[s] the independent domicile of [his] parent.” Lamar

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v. Micou, 112 U.S. 452, 470 (1884); see Mississippi Band of Choctaw Indians v. Holyfield, 490 U.S. 30, 48

(1989) (“Since most minors are legally incapable of forming the requisite intent to establish a domicile,

their domicile is determined by that of their parents.”).

        Temporary visitors and unlawfully present aliens, however, are not domiciled here but in for-

eign countries. As touched on above, “[i]n general, the domicile of an individual is his true, fixed and

permanent home.” Martinez v. Bynum, 461 U.S. 321, 331 (1983). Temporary visitors to the United

States, by definition, retain permanent homes in foreign countries. And illegal aliens, by definition,

have no right even to be present in the United States, much less a right to make lawful residence here.

Instead, as a matter of law, illegal aliens formally retain their foreign domiciles, because they have not

yet been accepted to reside anywhere else. See, e.g., Elkins v. Moreno, 435 U.S. 647, 665-66 (1978) (rec-

ognizing that federal immigration law restricts the ability of foreigners to establish domiciles in the

United States). And if a temporary visitor or illegal alien domiciled in a foreign country has a child

with another temporary visitor or illegal alien while in the United States, the child’s domicile also lies

in the foreign country, and the child owes allegiance to that country. That “allegiance to [an] alien

power” precludes the child from being “completely subject” to the United States’ jurisdiction, as the

Fourteenth Amendment requires. Elk, 112 U.S. at 101-02.

        Indeed, the Citizenship EO follows directly from Supreme Court precedent recognizing that

distinction, and the established exception to birthright citizenship for certain “children of members

of the Indian tribes.” Wong Kim Ark, 169 U.S. at 682. Indian tribes form “an intermediate category

between foreign and domestic states.” Lac du Flambeau Band of Lake Superior Chippewa Indians v. Coughlin,

599 U.S. 382, 396 n.7 (2023) (citation omitted). The Supreme Court has determined that Indian tribes

are not “foreign nations,” instead describing them as “domestic dependent nations.” Cherokee Nation

v. Georgia, 30 U.S. (5 Pet.) 1, 17 (1831) (Marshall, C.J.). Yet the Court has held that “an Indian, born a




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member of one of the Indian tribes,” has no constitutional birthright to citizenship given his “imme-

diate allegiance” to his tribe. Elk, 112 U.S. at 99, 101-02; see Wong Kim Ark, 169 U.S. at 680-682.

        Illegal aliens and temporary visitors have far weaker connections to the United States than do

members of Indian tribes. “Our Constitution reserves for the Tribes a place—an enduring place—in

the structure of American life.” Brackeen, 599 U.S. at 333 (Gorsuch, J., concurring). If the United States’

link with Indian tribes does not suffice as a constitutional matter for birthright citizenship, its link with

illegal aliens and temporary visitors even more obviously does not do so. See, e.g., William Hall, A

Treatise on International Law 237 n.1 (4th ed. 1895) (“[A] fortiori the children of foreigners in transient

residence are not citizens, their fathers being subject to the jurisdiction less completely than Indians.”).

        2.      The Fourteenth Amendment’s historical background provides additional support for

the conclusion that, while children born here of U.S. citizens and permanent residents are entitled to

U.S. citizenship by birth, children born of parents whose presence is either unlawful or lawful but

temporary are not. Under the common law, “[t]wo things usually concur to create citizenship; [f]irst,

birth locally within the dominions of the sovereign; and, secondly, birth . . . within the ligeance of the

sovereign.” Wong Kim Ark, 169 U.S. at 659 (citation omitted); see 2 James Kent, Commentaries on Amer-

ican Law (6th ed. 1848) (“To create [citizenship] by birth, the party must be born, not only within the

territory, but within the ligeance of the government”). The phrase “born . . . in the United States,”

U.S. Const. amend. XIV, § 1, codifies the traditional requirement of “birth within the territory,” Wong

Kim Ark, 169 U.S. at 693, and the phrase “subject to the jurisdiction thereof,” U.S. Const. amend.

XIV, § 1, codifies the traditional requirement of birth “in the allegiance” of the country, Wong Kim

Ark, 169 U.S. at 693.

        Drawing from the same tradition, Emmerich de Vattel—“the founding era’s foremost expert

on the law of nations,” Franchise Tax Bd. v. Hyatt, 587 U.S. 230, 239 (2019)—explained that citizenship

under the law of nations depended not only on the child’s place of birth, but also on the parents’


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political status. “[N]atural-born citizens,” Vattel wrote, include “those born in the country, of parents

who are citizens.” Emmerich de Vattel, The Law of Nations § 212, at 101 (1797 ed.). Citizenship by

virtue of birth in the country also extends to the children of “perpetual inhabitants” of that country,

whom Vattel regarded as “a kind of citize[n].” Id. § 213; see also id. § 215, at 102. According to Vattel,

citizenship does not extend, however, to children of those foreigners who lack “the right of perpetual

residence” in the country. Id. § 213, at 102. Such persons would owe allegiance to their parents’ home

countries, per the principle that “children follow the condition of their fathers.” Id. § 215, at 102.

        Justice Story also understood that birthright citizenship required more than physical presence.

He explained in a judicial opinion later quoted in Wong Kim Ark that “children of even aliens born in

a country, while the parents are resident there,” “are subjects by birth.” Inglis v. Trs. of Sailor’s Snug Harbor,

28 U.S. (3 Pet.) 99, 164 (1830) (emphasis added) (quoted in Wong Kim Ark, 169 U.S. at 660). He also

wrote in a treatise: “Persons, who are born in a country, are generally deemed citizens and subjects of

that country. A reasonable qualification of this rule would seem to be, that it should not apply to the

children of parents, who were in itinere in the country, or abiding there for temporary purposes, as for

health, or occasional business.” Joseph Story, Commentaries on the Conflict of Laws § 48, at 48 (1834).

        3.       Congressional debates over the Civil Rights Act and Fourteenth Amendment also con-

firm that children born in the United States to non-resident aliens lack a right to U.S. citizenship

because they are not subject to U.S. jurisdiction. For instance, Representative James Wilson explained

during a debate over the Civil Rights Act that, under “the general law relating to subjects and citizens

recognized by all nations,” a “person born in the United States” ordinarily “is a natural-born citizen.”

Cong. Globe, 39th Cong., 1st Sess. 1117 (1866). But he recognized “except[ions]” to that rule for

“children born on our soil to temporary sojourners or representatives of foreign Governments.” Id.

        When Congress was considering the Civil Rights Act, Senator Trumbull, “who wrote [the

Act’s] citizenship language and managed the Act in the Senate, wrote a letter to President Andrew


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Johnson summarizing the bill.” Mark Shawhan, Comment, The Significance of Domicile in Lyman Trum-

bull’s Conception of Citizenship, 119 Yale L. J. 1351, 1352 (2010) (footnotes omitted). The Act, as noted

above, provided that “all persons born in the United States and not subject to any foreign power, excluding

Indians not taxed, are hereby declared to be citizens.” Civil Rights Act § 1, 14 Stat. 27 (emphasis

added). Senator Trumbull summarized that provision: “The Bill declares ‘all persons’ born of parents

domiciled in the United States, except untaxed Indians, to be citizens of the United States.” Shawhan,

supra, at 1352-53 (quoting Letter from Sen. Lyman Trumbull to President Andrew Johnson, in Andrew

Johnson Papers, Reel 45, Manuscript Div., Library of Congress) (emphasis added). “Trumbull thus

understood the Act’s ‘not subject to any foreign [p]ower’ requirement as equivalent to ‘child of parents

domiciled in the United States.’” Id. at 1353 (footnote omitted).

        During a debate over the Fourteenth Amendment, Senator Benjamin Wade proposed a ver-

sion of the Amendment that would have referred to “persons born in the United States” (without the

additional qualification of being “subject to the jurisdiction”). Cong. Globe, 39th Cong., 1st Sess. 2768

(1866). One of his colleagues objected that “persons may be born in the United States and yet not be

citizens,” giving the example of “a person [who] is born here of parents from abroad temporarily in

this country.” Id. at 2769. Senator Wade acknowledged that the unadorned phrase “born in the United

States” would indeed encompass those individuals, but he argued that the situation would arise so

infrequently that “it would be best not to alter the law for that case.” Id. at 2768-69. That exchange

concludes that “a person [who] is born here of parents from abroad temporarily in this country” is

not subject to the jurisdiction of the United States, id. at 2679, and is accordingly not constitutionally

entitled to citizenship by birth. Likewise, Senator Howard stated that the Clause “of course” would

not include the children of “foreigners” or “aliens.” Id. at 2890.

        4.      Contemporary understanding following ratification accords with that reading of the




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Fourteenth Amendment. Perhaps most telling, right on the heels of the Citizenship Clause, the Su-

preme Court described its scope as such: “The phrase, ‘subject to its jurisdiction,’ was intended to

exclude from its operation children of ministers, consuls, and citizens or subjects of foreign States born

within the United States.” The Slaughterhouse Cases, 83 U.S. 36, 73 (1873) (emphasis added). That is

wholly consistent with the Citizenship EO.

        Contemporary commentators expressed similar views:

               “Indians are held not within this clause, not being ‘subject to the jurisdiction of the
                United States.’ The same reasoning, it may be argued, would exclude children born in
                the United States to foreigners here on transient residence, such children not being
                by the law of nations ‘subject to the jurisdiction of the United States.’” 2 Wharton’s
                Digest § 183, at 393-394 (citation omitted).

               “The words ‘subject to the jurisdiction thereof’ exclude the children of foreigners
                transiently within the United States.” Alexander Porter Morse, A Treatise on Citizen-
                ship 248 (1881).

               “[I]f a stranger or traveler passing through the country, or temporarily residing here,
                . . . has a child born here, who goes out of the country with his father, such child is
                not a citizen of the United States, because he was not subject to its jurisdiction. But
                the children, born within the United States, of permanently resident aliens, . . . are
                citizens.” Henry Black, Handbook of American Constitutional Law 458-59 (1895).

               “Indians are no more ‘born within the United States and subject to the jurisdiction
                thereof,’ within the meaning of the XIVth amendment, than the children of foreign
                subjects, born while the latter transiently sojourn here.” M.A. Lesser, Citizenship and
                Franchise, 4 Colum. L. Times 145, 146 (1891).

               “In the United States it would seem that the children of foreigners in transient resi-
                dence are not citizens.” Hall, supra, 236-237.

               “[T]he requirement of personal subjection to the ‘jurisdiction thereof’ . . . excludes
                Indians, the children of foreign diplomatic representatives born within the limits of
                the United States, and the children of persons passing through or temporarily residing in this
                country.” Boyd Winchester, Citizenship in its International Relation, 31 Am. L. Rev. 504,
                504 (1897) (emphasis added).

        The Supreme Court of New Jersey similarly linked birthright citizenship with parental domicile

in Benny v. O’Brien, 32 A. 696 (N.J. 1895). In a passage that was later quoted in Wong Kim Ark, the court

interpreted the Citizenship Clause to establish “the general rule that, when the parents are domiciled here,

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birth establishes the right of citizenship.” Id. at 698 (emphasis added) (quoted in Wong Kim Ark, 169

U.S. at 692). And it explained that the Citizenship Clause’s jurisdictional element excludes “those born

in this country of foreign parents who are temporarily traveling here” because “[s]uch children are, in

theory, born within the allegiance of [a foreign] sovereign.” Id.

        The political branches operated from the same understanding in the years following the Four-

teenth Amendment’s enactment. For instance, six years after ratification, Representative Ebenezer

Hoar proposed a bill “to carry into execution the provisions of the [F]ourteenth [A]mendment . . .

concerning citizenship.” 2 Cong. Rec. 3279 (1874). The bill would have provided that, as a general

matter, “a child born within the United States of parents who are not citizens, and who do not reside

within the United States, . . . shall not be regarded as a citizen thereof.” Id. Although the bill ultimately

failed because of “opposition to its expatriation provisions,” its “parental domicile requirement” gen-

erated little meaningful “debate or controversy.” Justin Lollman, Note, The Significance of Parental Dom-

icile Under the Citizenship Clause, 101 Va. L. Rev. 455, 475 (2015). The bill thus suggests that, soon after

the ratification of the Fourteenth Amendment, members of Congress accepted that children born of

non-resident aliens are not subject to the United States’ jurisdiction under the Citizenship Clause.

        The Executive Branch, too, at times, took the position that the Citizenship Clause did not

confer citizenship upon children born in the United States to non-resident alien parents. In 1885,

Secretary of State Frederick T. Frelinghuysen issued an opinion denying a passport to an applicant

who was “born of Saxon subjects, temporarily in the United States.” 2 A Digest of the International Law

of the United States § 183, at 397 (Francis Wharton ed., 2d. ed. 1887) (Wharton’s Digest). Secretary Freling-

huysen explained that the applicant’s claim of birthright citizenship was “untenable” because the ap-

plicant was “subject to [a] foreign power,” and “the fact of birth, under circumstances implying alien

subjection, establishes of itself no right of citizenship.” Id. at 398. Later the same year, Secretary

Frelinghuysen’s successor, Thomas F. Bayard, issued an opinion denying a passport to an applicant


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born “in the State of Ohio” to “a German subject” “domiciled in Germany.” Id. at 399. Secretary

Bayard explained that the applicant “was no doubt born in the United States, but he was on his birth

‘subject to a foreign power’ and ‘not subject to the jurisdiction of the United States.’ He was not,

therefore, under the statute and the Constitution a citizen of the United States by birth.” Id. at 400.

        5.      Finally, Wong Kim Ark recognized an exception to birthright citizenship for “children

born of alien enemies in hostile occupation,” Wong Kim Ark, 169 U.S. at 682. Here, the President has

determined that the United States has experienced “an unprecedented flood of illegal immigration” in

which “[m]illions of illegal aliens”—many of whom “present significant threats to national security

and public safety”—have entered the country in violation of federal law. Invasion EO § 1; see also id.

(explaining that “[o]thers are engaged in hostile activities, including espionage, economic espionage,

and preparations for terror-related activities”). Plaintiffs’ maximalist reading of the Citizenship Clause

would require extending birthright citizenship to the children of individuals who present such threats,

including even unlawful enemy combatants who enter this country in an effort to create sleeper cells

or other hostile networks.

        C.      Applicable Interpretive Principles Support the Government’s Reading of the
                Citizenship Clause.

        1.      “[A]ny policy toward aliens is vitally and intricately interwoven with . . . the conduct

of foreign relations.” Harisiades v. Shaughnessy, 342 U.S. 580, 588-89 (1952). “Any rule of constitutional

law that would inhibit the flexibility” of Congress or the President “to respond to changing world

conditions should be adopted only with the greatest caution.” Trump v. Hawaii, 585 U.S. 667, 704

(2018) (citation omitted).

        The government’s reading of the Citizenship Clause respects that principle, while Plaintiffs’

reading violates it. The Citizenship Clause sets a constitutional floor, not a constitutional ceiling. Alt-

hough Congress may not deny citizenship to those protected by the Clause, it may, through its power

to “establish an uniform Rule of Naturalization,” extend citizenship to those who lack a constitutional

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right to it. U.S. Const. Art. I, § 8, Cl. 4; see Wong Kim Ark, 169 U.S. at 688. The government’s reading

would thus leave Congress with the ability to extend citizenship to the children of illegal aliens or of

temporary visitors, just as it has extended citizenship to the children of members of Indian tribes.

Plaintiffs’ reading, by contrast, would for all time deprive the political branches of the power to address

the serious problems caused by near-universal birthright citizenship. See, e.g., Swearer, supra, at 8-11.

        As a “sovereign nation,” the United States has the constitutional power “to forbid the entrance

of foreigners within its dominions, or to admit them only in such cases and upon such conditions as

it may see fit to prescribe.” Nishimura Ekiu v. United States, 142 U.S. 651, 659 (1892). “[O]ver no con-

ceivable subject” is federal power “more complete” than it is over the admission of aliens. Oceanic

Navigation Co. v. Stranahan, 214 U.S. 320, 339 (1909). Interpreting the Constitution to require the ex-

tension of birthright citizenship to the children of illegal aliens directly undermines that power by

holding out a powerful incentive for illegal entry. Contrary to the principle that no wrongdoer should

“profit out of his own wrong,” Liu v. SEC, 591 U.S. 71, 80 (2020) (citation omitted), it also allows

foreigners to secure U.S. citizenship for their children (and, potentially, later immigration benefits for

themselves) by entering the United States in violation of its laws.

        2.      The Supreme Court has resisted reading the Citizenship Clause in a manner that would

inhibit the political branches’ ability to address “problems attendant on dual nationality.” Rogers v.

Bellei, 401 U.S. 815, 831 (1971). Although the United States tolerates dual citizenship in some circum-

stances, it has “long recognized the general undesirability of dual allegiances.” Savorgnan v. United States,

338 U.S. 491, 500 (1950). “One who has a dual nationality will be subject to claims from both nations,

claims which at times may be competing or conflicting,” and “[c]ircumstances may compel one who

has a dual nationality to do acts which otherwise would not be compatible with the obligations of

American citizenship.” Kawakita v. United States, 343 U.S. 717, 733, 736 (1952).




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        History shows that competing claims of allegiance can even lead to “problems for the govern-

ments involved.” Bellei, 401 U.S. at 832. For instance, the War of 1812 resulted in part from the Royal

Navy’s impressment of sailors whom the United Kingdom viewed as British subjects, but whom the

United States viewed as American citizens. See Robert E. Mensel, Jurisdiction in Nineteenth Century Inter-

national Law and Its Meaning in the Citizenship Clause of the Fourteenth Amendment, 32 St. Louis U. L. Rev.

329, 345 (2012). And during the years preceding the adoption of the Fourteenth Amendment, the

United States faced diplomatic clashes with the United Kingdom and other European powers “with

respect to the allegiance of persons with links to both countries.” Id. at 348.

        Plaintiffs’ reading of the Citizenship Clause invites just such problems. For centuries, countries

have extended citizenship to the foreign-born children of their citizens. Vattel wrote that children

born abroad “follow the condition of their fathers,” so long as “the father has not entirely quitted his

[home] country.” Vattel, supra, § 215, at 102. England has extended citizenship to certain foreign-born

children of English subjects since at least the 14th century. See Wong Kim Ark, 169 U.S. at 668-71. In

1790, the First Congress extended citizenship to “children of citizens” born “out of the limits of the

United States,” with the proviso that “the right of citizenship shall not descend to persons whose

fathers have never been resident in the United States.” Naturalization Act of 1790, ch. 3, 1 Stat. 103,

104. Today, federal law recognizes as a citizen any “person born outside of the United States . . . of

parents both of whom are citizens of the United States and one of whom has had a residence in the

United States.” 8 U.S.C. § 1401(c). Many other countries have similar laws. See Miller v. Albright, 523

U.S. 420, 477 (1998) (Breyer, J., dissenting).

        3.      Finally, “[c]itizenship is a high privilege, and when doubts exist concerning a grant of

it, generally at least, they should be resolved in favor of the United States and against the claimant.”

United States v. Manzi, 276 U.S. 463, 467 (1928); see Berenyi v. Dist. Dir., INS, 385 U.S. 630, 637 (1967).




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For the reasons discussed above, the Citizenship Clause is best read not to extend citizenship to chil-

dren born in the U.S. of illegal aliens or of temporary visitors. To the extent any ambiguity remains in

the Clause, however, the Court should resolve it against extending citizenship.

        D.       Plaintiffs’ Contrary Arguments Are Unpersuasive.

        1.       Plaintiffs rely primarily on Wong Kim Ark, see Mem. at 3-7, but they misread that prec-

edent. Wong Kim Ark did not concern the status of children born in the United States to parents who

were illegal aliens or temporary visitors. To the contrary, the Court precisely identified the specific

question presented: “whether a child born in the United States, of parents of Chinese descent, who at

the time of his birth, are subjects of the emperor of China, but have a permanent domicile and residence in

the United States, and are there carrying on business, and are not employed in any diplomatic or official

capacity under the emperor of China, becomes at the time of his birth a citizen of the United States.”

Wong Kim Ark., 169 U.S. at 653 (emphasis added).

        In analyzing that question, the Court repeatedly relied on the fact that the parents were per-

manent residents. For example, it quoted an opinion in which Justice Story recognized that “the chil-

dren, even of aliens, born in a country, while the parents are resident there under the protection of the

government, . . . are subjects by birth.” Wong Kim Ark, 169 U.S. at 660 (quoting Inglis, 28 U.S. (3 Pet.)

at 164 (Story, J., dissenting)) (emphasis added). It quoted the New Jersey Supreme Court’s observation

that the Fourteenth Amendment codifies “the general rule, that when the parents are domiciled here, birth

establishes the right to citizenship.” Id. at 692 (emphasis added; citation omitted). It explained that

“[e]very citizen or subject of another country, while domiciled here, is within the allegiance and the pro-

tection, and consequently subject to the jurisdiction, of the United States.” Id. at 693 (emphasis added).

And it noted that “Chinese persons . . . owe allegiance to the United States, so long as they are permitted

by the United States to reside here; and are ‘subject to the jurisdiction thereof,’ in the same sense as all other

aliens residing in the United States.” Id. at 694 (emphasis added).


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        After reviewing the relevant history, the Court reached the following “conclusions”: “The

Fourteenth Amendment affirms the ancient and fundamental rule of citizenship by birth within the

territory, in the allegiance and under the protection of the country, including all children born of resident

aliens.” Wong Kim Ark, 169 U.S. at 693 (emphasis added). Although the Amendment is subject to

certain “exceptions” (e.g., for “children of foreign sovereigns or their ministers”), the Amendment

extends citizenship to “children born within the territory of the United States, of all other persons, of

whatever race or color, domiciled within the United States.” Id. (emphasis added). The Court then summed

up its holding as follows: “[A] child born in the United States, of parents of Chinese descent, who, at

the time of his birth, are subjects of the emperor of China, but have a permanent domicile and residence in

the United States, . . . and are not employed in any diplomatic or official capacity under the Emperor of

China, becomes at the time of his birth a citizen of the United States.” Id. at 705 (emphasis added).

        No doubt some statements in Wong Kim Ark could be read to support Plaintiffs’ position. But

Wong Kim Ark never purported to overrule any part of Elk, however, and the Supreme Court has

previously (and repeatedly) recognized Wong Kim Ark’s limited scope. In one case, the Court stated

that “[t]he ruling in [Wong Kim Ark] was to this effect: “A child born in the United States, of parents

of Chinese descent, who, at the time of his birth, are subjects of the Emperor of China, but have a

permanent domicil[e] and residence in the United States, and are there carrying on business and are not em-

ployed in any diplomatic or official capacity under the Emperor of China, becomes at the time of his

birth a citizen.” Chin Bak Kan v. United States, 186 U.S. 193, 200 (1902) (emphasis added; citation omit-

ted). In another, the Court cited Wong Kim Ark for the proposition that a person is a U.S. citizen by

birth if “he was born to [foreign subjects] when they were permanently domiciled in the United States.” Kwock

Jan Fat v. White, 253 U.S. 454, 457 (1920) (citation omitted).

        About a decade after Wong Kim Ark was decided, the Department of Justice explained that the

decision “goes no further” than addressing children of foreigners “domiciled in the United States.”


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Spanish Treaty Claims Comm’n, U.S. Dep’t of Justice, Final Report of William Brown, Assistant Att’y Gen.

121 (1910). “[I]t has never been held,” the Department continued, “and it is very doubtful whether it

will ever be held, that the mere act of birth of a child on American soil, to parents who are accidentally

or temporarily in the United States, operates to invest such child with all the rights of American citi-

zenship. It was not so held in the Wong Kim Ark case.” Id. at 124. Commentators, too, acknowledged

the rule denying citizenship to children of non-resident foreigners. See, e.g., John Westlake, International

Law 219-20 (1904) (“[W]hen the father has domiciled himself in the Union . . . his children afterwards

born there . . . are citizens; but . . . when the father at the time of the birth is in the Union for a

transient purpose his children born within it have his nationality.”); Hannis Taylor, Treatise on Interna-

tional Public Law 220 (1901) (“[C]hildren born in the United States to foreigners here on transient

residence are not citizens, because by the law of nations they were not at the time of their birth ‘subject

to the jurisdiction.’”); Henry Brannon, Treatise on the Rights and Privileges Guaranteed by the Fourteenth

Amendment to the Constitution of the United States 25 (1901) (“[M]ere birth within American territory does

not always make the child an American citizen. . . . Such is the case with children of aliens born here

while their parents are traveling or only temporarily resident, or of foreign ministers.”).

        In short, only “those portions of [an] opinion necessary to the result . . . are binding, whereas

dicta is not,” Arcam Pharm. Corp. v. Faria, 513 F.3d 1, 3 (1st Cir. 2007), and the Wong Kim Ark Court

itself warned that “general expressions, in every opinion, are to be taken in connection with the case

in which those expressions are used.” 169 U.S. at 679 (citation omitted). The only question that was

presented, investigated, and resolved in Wong Kim Ark concerned children of parents with “a perma-

nent domicile and residence in the United States.” Id. at 653; see id. at 705. The case should not be read

as doing anything more than answering that question.

        2.      Nor do Plaintiffs advance their argument by relying on Plyler v. Doe, 457 U.S. 202

(1982), a case they admit addressed the meaning of “within [a State’s] jurisdiction,” as used in the


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Equal Protection Clause. Mem. at 8 n.6 (alteration by Plaintiffs). But the phrase “within its jurisdiction”

in the Equal Protection Clause, which focuses on a person’s geographic location, differs from the

phrase “subject to the jurisdiction thereof” in the Citizenship Clause, which focuses on an individual’s

personal subjection or allegiance to the United States. As Supreme Court cases illustrate, a person may

fall outside the scope of the Citizenship Clause even if the person or his parents falls within the scope

of the Equal Protection Clause. For example, certain children of members of Indian tribes lack a

constitutional right to U.S. citizenship by birth, see Elk, 112 U.S. at 102, but Indians are entitled to the

equal protection of the laws, see United States v. Antelope, 430 U.S. 641, 647-650 (1977). Children of

foreign diplomats also are not entitled to birthright citizenship, see Wong Kim Ark, 169 U.S. at 682, but

Plaintiffs offer no authority suggesting such individuals are not subject to the Equal Protection Clause.

        Plaintiffs also invoke the “common law rule of ‘jus soli.’” Mem. at 3-4. But the Supreme Court

“has long cautioned that the English common law ‘is not to be taken in all respects to be that of

America.’” NYSRPA v. Bruen, 597 U.S. 1, 39 (2022) (citation omitted). That admonition holds force

here. Cf. United States v. Rahimi, 602 U.S. 680, 722 & n.3 (2024) (Kavanaugh, J., concurring). The Eng-

lish jus soli tradition was premised on an unalterable allegiance to the King (which was conferred via

birth on his soil). But this nation was founded on breaking from that idea, and grounded citizenship

in the social contract, premised on mutual consent between person and polity. See, e.g., Cong. Globe,

40th Cong., 2nd Sess. 868 (1868) (statement of Rep. Woodward) (calling the British tradition an “in-

defensible feudal doctrine of indefeasible allegiance”); id. at 967 (statement of Rep. Bailey) (calling it a

“slavish” doctrine); id. at 1130-31 (statement of Rep. Woodbridge) (saying it conflicts with “every

principle of justice and of sound public law” animating America and its independent identity).

        Indeed, the Supreme Court has already held that the Citizenship Clause departs from English

common law in important respects. For example, the Clause’s exception for certain children of mem-

bers of Indian tribes has no parallel in English law, see Wong Kim Ark, 169 U.S. at 693; and the Clause


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permits voluntary renunciation of citizenship, even though English common law did not, see Afroyim

v. Rusk, 387 U.S. 253, 257-262 (1967). This Court should thus interpret the Citizenship Clause in light

of American common-law principles, and as shown above, those principles do not support birthright

citizenship for children of illegal aliens or temporary visitors.

        Plaintiffs point to 20th century Executive Branch precedent. See Mem. at 5, 10-11. But the

scope of the Citizenship Clause turns on what it meant in 1868, not on what the Executive Branch

assumed it meant during parts of the 20th century. See, e.g., Bruen, 597 U.S. at 66 n.28 (declining to

consider “20th-century evidence” in interpreting the Constitution). Nor is it unusual for the Supreme

Court, after fully exploring a legal issue, to reach a conclusion that conflicts with earlier assumptions.

See, e.g., Oklahoma v. Castro-Huerta, 597 U.S. 629, 644-45 (2022) (holding that states may prosecute non-

Indians for crimes against Indians in Indian country despite decades of contrary Supreme Court dicta);

District of Columbia v. Heller, 554 U.S. 570, 624 n.24 (2008) (holding that the Second Amendment pro-

tects an individual right even though lower courts had long read it to protect a collective right); INS

v. Chadha, 462 U.S. 919, 944-45 (1983) (holding the legislative veto unconstitutional even though Con-

gress had enacted, and the President had signed, almost 300 legislative-veto provisions).

        E.      Plaintiffs Are Also Unlikely To Succeed on the Merits of Their Statutory
                Claim.
        Plaintiffs are incorrect that 8 U.S.C. § 1401(a) provides them with an independent ground for

relief. See Mem. at 8. That statute recognizes citizenship for “a person born in the United States, and

subject to the jurisdiction thereof,” 8 U.S.C. § 1401(a), which closely tracks the text of the Fourteenth

Amendment’s Citizenship Clause (“All persons born . . . in the United States, and subject to the juris-

diction thereof, are citizens of the United States[.]”). But Plaintiffs do not identify any authority sug-

gesting that Congress intended any delta between the statute and the Amendment. Rather, in using

the exact text of the Citizenship Clause in the INA, Congress imported its exact scope. See Taggart v.

Lorenzen, 587 U.S. 554, 560 (2019) (“When a statutory term is obviously transplanted from another

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legal source, it brings the old soil with it.”) (cleaned up); Kellogg Brown & Root Servs., Inc. v. United States

ex rel. Carter, 575 U.S. 650, 661 (2015) (“Fundamental changes in the scope of a statute are not typically

accomplished with so subtle a move. . . . If Congress had meant to make such a change, we would

expect it to have used language that made this important modification clear to litigants and courts.”).

        In addition, it would be unworkable to follow Plaintiffs’ suggestion that essentially identical

words in a statute and the Constitution should be given different legal effect based on an alleged

“prevailing understanding” of what Congress believed the Constitutional provision meant, see Mem.

at 8—even if that supposed “prevailing understanding” was incorrect. See Oklahoma v. Castro-Huerta,

597 U.S. 629, 642-643 (2022) (explaining that “the text of a law controls” over “expectations that the

enacting Congress had formed in light of the contemporary legal context”) (citation and quotation

marks omitted). This suggestion would allow courts to interpret essentially identical language in sepa-

rate legal instruments to have vastly different legal results, contrary to standard principles of interpre-

tation. Cf. Cochise Consultancy, Inc. v. United States ex rel. Hunt, 587 U.S. 262, 268 (2019) (“In all but the

most unusual situations, a single use of a statutory phrase must have a fixed meaning. We therefore

avoid interpretations that would ‘attribute different meanings to the same phrase.’” (citations omit-

ted)). In any event, as discussed above, Plaintiffs overstate the degree of supposed historical consensus

there might have been about the meaning of the Citizenship Clause. Accordingly, if the Court properly

concludes that the Citizenship Clause does not extend to the children of illegal aliens or temporary

visitors, then neither does the near-identical text of the INA.

III.    Plaintiffs Will Not Suffer Irreparable Harm During the Pendency of This Lawsuit.

        Plaintiffs fail to establish any injury “of such imminence that there is a ‘clear and present need

for relief to prevent irreparable harm.’” Sierra Club v. Larson, 769 F. Supp. 420, 422 (D. Mass. 1991)

(citation omitted). They claim that the EO would “strip . . . citizenship from members’ children,”

make them “subject to . . . deportation,” or render them “stateless.” Mem. at 12-13. But because the


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Citizenship EO has not yet been implemented by relevant federal agencies, the full scope of its down-

stream effects are hypothetical. As discussed above, Section 1 declares the Executive Branch’s policy

against recognizing birthright citizenship where an individual does not have a parent that is a lawful

permanent resident or citizen, but the implementation and enforcement of the Citizenship EO are left

to agencies under Section 3. See Citizenship EO § 3(a)-(b). That implementation and enforcement

have yet to occur, and no agency has taken any action pursuant to the EO to determine the immigra-

tion status of any of Plaintiffs’ members discussed in their complaint, much less initiate any deporta-

tion actions. Indeed, Plaintiffs allege that their members have a variety of immigration statuses. Compl.

¶¶ 51-60. For example, some of the members discussed in the complaint have pending asylum appli-

cations. Id. ¶¶ 53-54, 57. Were such applications to be granted, they would receive “a path to citizen-

ship, eligibility for certain government benefits, and the chance for family members to receive asylum

as well.” Cap. Area Immigrants’ Rts. Coal. v. Trump, 471 F. Supp. 3d 25, 32 (D.D.C. 2020). Moreover, if

any removal action were initiated against the children of these members, the subject of the action

could assert their claim to citizenship as a defense in that proceeding. See 8 U.S.C. § 1252(b)(5). Because

the precise effects of the EO are yet to materialize, Plaintiffs can only speculate at what specific harms

the Citizenship EO might ultimately cause. See, e.g., Charlesbank Equity Fund II v. Blinds To Go, Inc., 370

F.3d 151, 162 (1st Cir. 2004) (“A finding of irreparable harm must be grounded on something more

than conjecture, surmise, or a party’s unsubstantiated fears of what the future may have in store.”).

        The same rationale undercuts Plaintiffs’ arguments that the EO would prevent Plaintiffs’

members or their future children from receiving passports or certain healthcare or nutritional benefits.

See Mem. at 13-14; see also Bos. Parent Coal. for Acad. Excellence Corp. v. Sch. Comm. of Bos., 996 F.3d 37,

44 (1st Cir. 2021) (“simply showing some possibility of irreparable injury” is insufficient) (citation

omitted). Nor do Plaintiffs’ generalized assertions about potential future “worsened social and eco-

nomic inequities” warrant granting emergency relief. See Mem. at 15. Such hypothetical, future harms


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lack the required “imminence” that renders a “clear and present need for relief to prevent irreparable

harm.” Sierra Club, 769 F. Supp. at 422. And in any event, if an individual were actually “denied” any

“right or privilege” of citizenship, 8 U.S.C. § 1503 provides an adequate legal remedy to avoid any

irreparable harm. See supra Sec. I; Charlesbank Equity Fund II, 370 F.3d at 162 (a party cannot show

irreparable harm if it has an “adequate” “legal remedy”).4

IV.     The Public Interest Does Not Favor an Injunction.

        Plaintiffs’ asserted harms are outweighed by the harm to the government and public interest

that would result from the extraordinary relief Plaintiffs request. See Nken v. Holder, 556 U.S. 418, 435

(2009) (noting that the balancing of harms and public interest requirement for emergency injunctive

relief merge when “the Government is the opposing party”). As the Supreme Court has recognized,

Executive officials must have “broad discretion” to manage the immigration system. Arizona v. United

States, 567 U.S. 387, 395-96 (2012). It is the United States that has “broad, undoubted power over the

subject of immigration and the status of aliens,” id. at 394, and providing Plaintiffs with their requested

relief would mark a severe intrusion into this core executive authority, see INS v. Legalization Assistance

Project, 510 U.S. 1301, 1305-06 (1993) (O’Connor, J., in chambers) (warning against “intrusion by a

federal court into the workings of a coordinate branch of the Government”); see also Doe #1 v. Trump,

957 F.3d 1050, 1084 (9th Cir. 2020) (Bress, J., dissenting) (an injunction that limits presidential au-

thority is “itself an irreparable injury” (citing Maryland v. King, 567 U.S. 1301 (2012)).

V.      Any Relief Should Be Limited.

        For the reasons above, the Court should deny Plaintiffs’ motion in its entirety. But even if the

Court determines that a preliminary injunction is appropriate, it should limit its scope in at least three



4
  Plaintiffs refer, in footnotes, to potential harms to children whose citizenship would be unaffected by
the EO. See Mem. at 13 n.9, 15 n.11. But those harms to individuals not covered by the EO are en-
tirely vague and hypothetical, and not tied to asserted harms to any of Plaintiffs’ individual members.
They accordingly do not warrant emergency relief. Cf. Charlesbank Equity Fund II, 370 F.3d at 162.

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ways. First, nationwide relief would be improper because “injunctive relief should be no more burden-

some to the defendant than necessary to provide complete relief to the plaintiffs.” Madsen v. Women’s

Health Ctr., Inc., 512 U.S. 753, 765 (1994) (citation omitted). To prevent ordering “the government to

act or refrain from acting toward nonparties in the case,” Arizona v. Biden, 40 F.4th 375, 396 (6th Cir.

2022) (Sutton, C.J., concurring), the Court should limit any relief to any party before it that is able to

establish its entitlement to preliminary injunctive relief.

        Second, “courts do not have jurisdiction to enjoin [the President] . . . and have never submitted

the President to declaratory relief.” Newdow v. Roberts, 603 F.3d 1002, 1013 (D.C. Cir. 2010) (citations

omitted); see Franklin, 505 U.S. at 802–03 (“[I]n general ‘this court has no jurisdiction of a bill to enjoin

the President in the performance of his official duties.’” (citation omitted)); id. at 827 (Scalia, J., con-

curring in part) (“[W]e cannot issue a declaratory judgment against the President.”); Mississippi v. John-

son, 71 U.S. 475, 501 (1866). Accordingly, the Court lacks jurisdiction to enter Plaintiffs’ requested

relief against the President and should dismiss him as a defendant.

        Third, the Court should reject Plaintiffs’ facial challenges to the Citizenship EO so that its

lawfulness can be determined in individual as-applied challenges, consistent with the process estab-

lished by the INA. To mount a successful facial challenge, a plaintiff must show that “no set of cir-

cumstances exists” under which the challenged provision “would be valid,” Rahimi, 602 U.S. at 693,

and as explained in the merits section of the brief, Plaintiffs have failed to do so. See supra Sec. II.5

                                            CONCLUSION

        For the foregoing reasons, the Court should deny the motion for a preliminary injunction.




5
  Because Plaintiffs’ claims are purely legal and fully addressed in the parties’ briefing on the instant
motion, Defendants request that the Court consolidate the February 10 preliminary injunction hear-
ing with a trial on the merits, pursuant to Federal Rule of Civil Procedure 65(a)(2).

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DATED: January 31, 2025           Respectfully submitted,

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